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                                UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

John Hancock Life Insurance Company            )
(U.S.A.)                                       )
                                               )       Civil Action 4:18−cv−02869
                                               )
The Estate of Jennifer Lauren Wheatley         )
c/o Louis A. Wheatley, et al.                  )

          UNOPPOSED MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL

         Plaintiff, John Hancock Life Insurance Company (U.S.A.) (“Plaintiff”) files this Motion

to Withdraw and Substitute Counsel, and in support thereof would show the following:

         Plaintiff wishes to allow one of its current counsel of record to withdraw, namely:

Gregory J. Sachnik.

         Plaintiff wishes to substitute the following counsel as lead counsel of record:

                                         Tricia W. Macaluso
                              BRYAN CAVE LEIGHTON PAISNER LLP
                                       2200 Ross, Suite 3300
                                        Dallas, Texas 75201
                                     Telephone: 214-721-8000
                                     Facsimile: 214-721-8100
                                Email: tricia.macaluso@bclplaw.com

         As grounds for this motion, Plaintiff states that Mr. Sachnik departed the Bryan Cave

Leighton Paisner LLP law firm, effective July 17, 2020. Tricia Macaluso, another attorney in the

Bryan Cave Leighton Paisner LLP law firm, is prepared to assume the defense of this matter in

place of Mr. Sachnik.

         Plaintiff further moves that Ms. Macaluso be designated as one of Plaintiff’s counsel of

record in this matter. All notices, pleadings, correspondence and documents propounded or




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issued by the Court or other parties should be addressed to Ms. Macaluso at the addresses

provided below.

         WHEREFORE, Plaintiff prays that the Court grant this Motion to Withdraw and

Substitute Counsel, and grant all such other relief to which Plaintiff may show as justly entitled.

Respectfully submitted this 21st day of July, 2020.


                                              /s/ Tricia W. Macaluso
                                              Tricia W. Macaluso
                                              Texas Bar No. 24013773
                                              Southern District No. 9757
                                              BRYAN CAVE LEIGHTON PAISNER LLP
                                              2200 Ross Avenue, Suite 3300
                                              Dallas, Texas 75201
                                              Telephone: 214.721.8000
                                              Facsimile: 214.721.8100
                                              Email: tricia.macaluso@bclplaw.com

                                              Attorneys for Plaintiff

                              CERTIFICATE OF CONFERENCE

       On July 21, 2020, I contact counsel of record for each party, and they indicated that they
do not oppose the relief requested in the foregoing Motion to Withdraw and Substitute Counsel.



                                               /s/ Jennifer L. Berhorst
                                              Jennifer L. Berhorst



                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing was served

upon all counsel of record through CM/ECF on July 21, 2020.

                                              By: /s/ Tricia W. Macaluso
                                                  Tricia W. Macaluso




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